Case 1:24-cv-00648-AA   Document 23-61   Filed 06/20/24   Page 1 of 4




                        EXHIBIT 67
        Case 1:24-cv-00648-AA          Document 23-61           Filed 06/20/24        Page 2 of 4 EXHIBIT 67



                                  AFFIDAVIT OF NON-SERVICE
                               UNITED STATES DISTRICT COURT
                                           District of Oregon
 Case Number: 1:24-CV-00648-AA
 Plaintiff: ARNAUD PARIS
 vs.
 Defendant: HEIDI MARIE BROWN

 For:
 Received by ACP Investigations on the 16th day of April, 2024 at 3:05 pm to be served on HEIDI MARIE
 BROWN, 2256 ABBOTT AVE, ASHLAND, OR 97520.

. ·I, ACP INVESTIGATIONS (SEAN SOUZA), being duly sworn, depose and say that on the 3rd day of May,
   2024 at 8:55 am, I:

 NON-SERVED the SUMMONS, CIVIL COVER SHEET, PETITION FOR RETURN OF CHILDREN
 UNDER THE HAGUE CONVENTION ON THE CIVIL ASPECTS OF INTERNATIONAL CHILO
 ABDUCTION AND REQUEST FOR SHOW CAUSE ORDER (pgs 1- 14), EXHIBIT 1- JUDGMENT rendu
 le 21 avril 2023 (pgs 1-25), EXHIBIT 2- JUDGMENT ISSUED AUGUST 25, 2023 (pgs 1- 7), EXHIBIT 3-
 EMAIL, EXHIBIT 4 - REQUEST FOR THE RETURN OF ABDUCTED CHILDREN PURSUANT TO THE
 HAGUE CONVENTION OF 25 OCTOBER 1980 (pgs 1-6). Aiter due search, careful inquiry and diligent
 attempts was unable to seNe on HEIDI MARIE BROWN for the reasons detailed in the comments below.
 Additional Information pertaining to this Service:
 4/16/2024 6:05 pm Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
  - SPOKE TO WHITE FEMALE, 78 years old, 5'9", 135 lbs, GRAY HAIR WHO STATED THAT NO LONGER
 LIVES HERE.
 4/17/2024 4:47 pm AFTER TALKING WITH CLIENT AND REVIEWING PHOTO SENT BY CLIENT - THIS
 WAS IN FACT THE WOMEN SERVER WAS TALKING TO AND WAS IDENTIFIED AS THE MOTHER OF
 THE PERSON WE ARE TRYING TO SERVE. CLIENT STATED THAT HE FEELS AS THOUGH HEIDI IS
 STAYING WITH MOM AND IS LIVING AT THAT RESIDENCE.
 4/17/Z0.2'4- 5:48 pm Arrived at 5:45pm. Serve waited til 6:15pm - No vehicle in driveway. No one coming or
 go,og; ,. ·-,, •
 4/17/2024 6:05 pm Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
  -NOT HOME
 4/18/2024 7:30 am Attempted service at 2256 AB BOTT AVE, ASH LAND, OR 97520
  -NOT HOME
 4/20/2024 11 :15 am Attempted service at 2256 ABBOTT AVE, ASHLAND. OR 97520
  ""NOT HOME NO CARS SEEN
 4/22/2024 1:00 pm CLIENT ASKED FOR NON SERVE AFFIDAVIT OF ATTEMPTS TO PROVIDE TO
  JUDGE
 4/26/2024 9:15 am SERVER SS ATTEMPTED AT MIX BAKERY IN ASHLAND - DID NOT SEE ANYONE
 THAT MATCH HEIDI DESCRIPTION, NO KIDS SEEN, GRAY JEEP CHEROKEE NOT SEEN) WAIT FOR
  30 MIN -
 4/26/202.i. 10:05 am Attempted Service on HEIDI MARIE BROWN (PARENTS HOUSE) 358
  STRA\IVBERRY LANE. ASHLAND, OR 97520 - NO CARS SEEN - NOT HOME
 4,l26{2Q24 JP,:J 5 9 m Attempted Service at MAR KET OF CHOICE- 14 75 SISKIYOU BLVD ASH LAND OR
  97520::s"ERVER SS WENTTHRU THE ENTIRE PARKING LOT- NO GRAY JEEP CHEROKEE SEEN -
  4/2672024 11 :00 am WENT BY LITHIA PARK PLAYGROUND- TO SEE IF WE COULD FIND HEIDI AND
  THE TWINS- DID NOT SEE FEMALE OR TWINS THAT MATCHED DESCRIPTION
  4/28/2024 10:50 am LEFT ACP OFFICE -ARRIVED AT - PARENTS HOME- 385 STRAWBERRY LANE
  ASHLAND OR 97520 -ARRIVED AT 11: 15 AM - JEEP NO SEEN -WHITE TOYOTA 4RUNNER SEEN
  CRATER LAKE PLATE 80611- LEFT FOR HEIDI'S HOME AT 2:15PM
  4/28/2024 2:30 pm 2:30PM ARRIVED AT 2256 ABBOTT AVE ASHLAND - NO CARS SEEN - NO
  MOVEMENT- NO ONE HOME- SENT PHOTO TO CLIENT - REQUEST TO TRY 3040 SIGNATURE
  COURT 97504
  4/28/2024 2:45 pm ATTEMPTED AT 3040 SIGNATURE COURT -WHITE TRUCK IN DRIVEWAY &
  BLACK NISSAN LEAF- NO JEEP OR WHITE TOYOTA SUV- SENT PHOTOS TO CLIENT
  4/29/2024 9:38 am DMV LOOK UP -TO GET PLATE# OMV VIN LOOKUP 1C4PJMBS8EW212182 OR
. PLATE 040 MYV




                                    EXHIBIT 67 - PAGE 1 OF 3
                  Case 1:24-cv-00648-AA                                           Document 23-61    Filed 06/20/24      Page 3 of 4




                                                     AFFIDAVIT OF NON-SERVICE For 1:24-CV-00648-AA

4/29/2024 11 :29 am SENT EMAIL, WITH ORDER AND OPTION TO EMPLOYER. IN HOPES THEY
WOULD NOTIFY HER THAT SHE HAS DOCS TO BE SERVED ON HER
4/29/2024 4:23 pm Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
 NOT HOME DROPPED CARD
4(29/2024 4:36 pm Attempted service at PARENTS HOME 358 STRAWBERRY LANE, ASHLAND, OR
975.20 '.: ;': .:
 NOT HQME:DROPPED CARD
4'f.30i2024 9:29 am SPOKE TO MALE ON THE PHONE (PHONE #541-200-5509) WHO STATED THAT
HE WOULD NOT DISCLOSE INFORMATION ON HEIDI WHERE ABOUT'S- ACP JM EXPLAINED TO HIM
THAT WE ARE A THIRD PARTY AND PROCESS SERVING COMPANY WHO HAS BEEN HIRED TO
SERVE LEGAL DOCUMENTS-ARE JOB IS TO DO THAT. MALE THREATENED COMPANY AND
STATED THAT IF WE WERE TO LOCATE HEIDI AND DISCLOSED HER WEARABOUTS. ACP JM
EXPLAINED TO HIM THAT WE COULD MEET IN A NEUTRAL PLACE AND NO ONE WHOULD HAVE TO
KNOW-WHERE SHE WAS AND THAT THE JUDGE ULTIMATELY DES ICED WHAT HAPPENS IN COURT
5/1/2024 7:00 am Attempted Service on HEIDI MARIE BROWN. 2256 ABBOTT AVE, ASHLAND, OR
97520 - NOT HOME
5/2/2024 6:15 pm Attempted Service on HEIDI MARIE BROWN, 2256 ABBOTT AVE. ASHLAND, OR
97520 - NOT HOME
5/3/2024 9:36 am TRIED CALLING# 541-944-2066-WENT TO VOICE MAIL- PHONE DID NOT RING -
THEN CLICKED OVER AND WAS UNABLE TO LEAVE VOICE MAIL
513/2024 .10:07 am TRIED CALLING# 541-690-2000 - DID NOT RING WENT STRAIGHT TO VOICE MAIL
~,_.·\/◊ICfEMAIL,FOR
 1

      -p·.: !-, ... :; i; i.,: -c.,1
                                     MEG- DID NOT LEAVE MESSAGE UNSURE WAS MOTHER#

I certify that I am over the age of 18, have no interest in the above action. and am a Certified Process
SeNer, in good standing, in the judicial circuit in which the proc     was seNed. I declare under penalty of
perjury that the above statement is true and correct.




Subscribed and Sworn to before me on the 3rd day
of May, 2024 by the affiant wflo is personally knol/,/ll
                                                                                               ACP Investigations
~                                                                                              P.O. Box 1624

~~~' : • _ ·.-.    r,. C.:.,, ·- ,.:-   , ,_ •.:
                                                                                               1616 W. Main Street
                                                                                               Medford, OR 97501
                                                                                               ( 541) 772-3107
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                                                                             EXHIBIT 67 - PAGE 2 OF 3
                Case 1:24-cv-00648-AA                 Document 23-61           Filed 06/20/24      Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Oregon


                       ARNAUD PARIS




                            Plaintiff(.~)
                                 V.                                        Civil Action No.   J ; ii/----{!,V- 00048·- /4-A
                   HEIDI MARIE BROWN



                           Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name mid address) HEIDI MARIE BROWN
                                            2256 ABBOTT AVENUE
                                            ASHLAND, OR 97520




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rut.es of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ARNAUD PARIS
                                            13 RUE FERDINAND DUVAL
                                            75004 PARIS, FRANCE




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                             EXHIBIT 67 - PAGE 3 OF 3
